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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Civil Action No. 1:20-cv-00264-DDD-NRN

  DAVID KATT, on behalf of himself and all others similarly situated,

  Plaintiff,

  v.

  MONARCH BLACK HAWK, INC.,

  Defendant.



                     STIPULATION FOR DISMISSAL WITH PREJUDICE
                        PURSUANT TO FED. R. CIV. P 41(a)(1)(A)(II)




          The parties, by and through their respective attorneys, Ari Hillel Marcus on behalf of

  Plaintiff; and Robert Stephen Galbo on behalf of Defendant, hereby stipulate and agree pursuant

  to Fed. R. Civ. P. 41(a)(1)(A)(ii) to a dismissal, with prejudice, each party to pay its own costs and

  attorney fees, of this lawsuit. By the filing of this Stipulation the above civil action is deemed

  resolved and the case closed.
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        Respectfully submitted this 29th day of July, 2020.


                                             /s/ Ari Hillel Marcus
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                                             /s/ Robert Stephen Galbo
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                                             ATTORNEY FOR DEFENDANT




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of July, 2020, I electronically filed the foregoing
  STIPULATION FOR DISMISSAL WITH PREJUDICE with the Clerk of Court using the
  CM/ECF system which will send electronic notification of such filing to the following:


  Robert Stephen Galbo
  galbor@gtlaw.com



                                                           /s/ Ari H. Marcus




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